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                JUDGE NATiW

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                        x
REPUBLIC OF TURKEY                                          Case No.:       <7V -000^

                                      Plaintiff,
                                                            COMPLAINT FOR DECLARATORY
          v.
                                                            RELIEF. INJUNCTIVE RELIEF.
                                                            AND DAMAGES AND DEMAND
CHRISTIE’S, INC.; and JOHN DOES 1-5,                        FOR JURY TRIAL

                                      Defendants.             JoJEEilfiffp
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               Plaintiff, the Republic of Turkey (“Turkey^                                      teys,

Herrick, Feinstein LLP, as and for its complaint (the “Complaint”) against defendants Christie’s,

Inc. (“Christie’s”) and John Does 1-5 (collectively with “Christie’s”, “Defendants”), alleges as

follows, upon knowledge with respect to itself, its own acts, and certain of the acts of

Defendants, and upon information and belief as to all other matters:

                                 NATURE OF THE ACTION

               1.     This is an action to recover an ancient marble statue, the “Anatolian

Marble Female Idol of Kiliya Type” (the “Figure”), also known as “The Guennol Stargazer,”

9 in. (22.9 cm) high, dating from c. 3000-2200 B.C.E.

               2.     The Figure is an extremely rare artifact that is an integral and invaluable

part of the artistic and cultural patrimony of The Republic of Turkey. Prior to 1966, the Figure

was illicitly removed from Turkey in violation of Turkey’s national patrimony law.

               3.       The Figure is currently in the possession of Christie’s in New York, New

York, and is designated as Lot 12 of Christie’s April 28, 2017 auction.
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                                             THE PARTIES

                 4.      Plaintiff, Republic of Turkey, is a foreign state, as defined in 28 U.S.C.

§ 1603(a).

                 5.      Upon information and belief, Defendant Christie’s is a New York

corporation with a principle place of business at 20 Rockefeller Plaza, New York, NY 10020.

                 6.      Upon information and belief, Defendants John Does 1-5 are defendants in

this action whose true names are unknown to Plaintiff with addresses in New York, New York.

                 7.      Upon information and belief, Defendants John Does 1-5 are citizens of

New York.

                                   JURISDICTION AND VENUE

                 8.      This Court has subject matter jurisdiction pursuant to pursuant to 28

U.S.C. § 1332, because this is a dispute between a foreign state and citizens of a State, and the

matter in controversy exceeds $75,000, exclusive of interest and costs.

                9.       This Court has personal jurisdiction over the Defendants pursuant to New

York CPLR 301 and 302(a) because the Defendants transacted business in New York giving rise

to the claims asserted herein.

                10.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a), (b) and

(c), because Defendant, Christie’s, is a corporation located in New York County and the Figure

that is the subject matter of this dispute is located in this judicial district.

                11.      The Court has jurisdiction to grant the relief requested pursuant to 28

U.S.C. §§ 2201(a) and 2202.

                                     FACTUAL ALLEGATIONS

                12.      Since at least 1906, Turkey is and has been the owner and entitled to

immediate possession of all antiquities situated in and on Turkey’s land, including previously


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 unknown objects. The excavation of such antiquities without license or permission of Turkey is

and has been, at all times relevant herein, unlawful. Such antiquities cannot be removed from

Turkey.

                13.    The Figure, “Anatolian Marble Female Idol of Kiliya Type” or “The

Guennol Stargazer”, is an extremely rare artifact that is an integral and invaluable part of the

artistic and cultural patrimony of Turkey

                14.    The Figure belongs to a Kilia figurine tradition that is distinctive to

Anatolia during the Chalcolithic period, c. 3000-2200 B.C.E. Such figures were created in and

have only been found in modem times at sites in Anatolia. Anatolia is entirely contained within

Turkey’s modem boundaries.

               15.     Upon information and belief, on August 16, 1993, Defendants John Does

1-5 acquired the Figure by purchase, gift, or otherwise from the Merrin Gallery, New York.

               16.     On or around April 19, 2017, Plaintiff was alerted to the whereabouts of

the Figure — that it was in the possession of Christie’s, which intended to include the Figure in

its April 28, 2017 sale, “The Exceptional Sale 2017” (the “Auction”). Upon information and

belief, John Does 1-5 consigned the Figure to Christie’s for the purpose of selling the figurine at

auction.   Upon learning of the impending sale, Turkey immediately contacted Christie’s,

requesting that the Figure be removed from the Auction.

               17.     In anticipation of the upcoming Auction, Christie’s published a catalogue,

which includes a provenance for the Figure:

       Alastair Bradley and Edith Martin, New York, acquired 1966 or prior; thence by descent,
       with the Merrin Gallery, New York, acquired form the above, 1993.
       Acquired by the current owner from the above, 16 August 1993.




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                18.    Although the Figure was created thousands of years ago, c. 3000-2200

B.C.E., no ownership history is provided for the Figure prior to 1966. Upon information and

belief, the sites where the Kiliya figures were created and have been found in modem times were

looted in the 1960s. The Figure was not from a government approved excavation and was not

declared to the proper authorities.

               19.     Upon information and belief, looted artifacts, such as the Figure, typically

enter the market shortly after their illicit excavation and removal from Turkey.

               20.     Upon information and belief, the Figure was looted from Turkey in the

1960s, at which time it was owned by Turkey pursuant to the 1906 decree on antiquities, which

makes all antiquities found in or on the ground in Turkey the property of the government.

               21.     Christie’s auction catalogue includes a description of the Figure, “AN

ANATOLIAN MARBLE FEMALE IDOL OF KILIYA TYPE,” in a heading using upper case

type (he, all capital-letter type). In its standard Conditions of Sale, Christie’s warrants that

property described in a heading, printed in upper case type, and without qualification — such as

the description of the Figure — is of the period, culture, source or origin described. Christie’s

has warranted to potential purchasers that the Figure is from Turkey.

               22.     On April 25, 2017, the Counsel General of the Republic of Turkey and

plaintiffs attorneys, Herrick, Feinstein LLP, met with Christie’s, and demanded that the

Defendants return the Figure, but Defendants failed and refused to deliver the Figure to Plaintiff.

Upon information and belief, the Figure remains in the possession of the Defendants through the

filing of this Complaint.




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                                   FIRST CAUSE OF ACTION
                                         (For Replevin)

                 23.    Plaintiff repeats and realleges paragraphs 1 through 22 above, as if set

forth here in full.

                 24.    Plaintiff is the rightful owner of the Figure, and is thus entitled to recover

sole possession of the Figure.

                25.     The Figure is a unique and irreplaceable art object.

                26.     Plaintiff has demanded the return of the Figure. Defendants have failed

and refused to deliver the Figure to Plaintiff.

                27.     By virtue of the foregoing, Plaintiff is entitled to the immediate return of

the Figure.

                                SECOND CAUSE OF ACTION
                         (For Injunction - Enjoining Sale of the Figure)

                28.     Plaintiff repeats and realleges paragraphs 1 through 27 above, as if set

forth here in full.

                29.     Plaintiff is the rightful owner of the Figure, and is thus entitled to recover

sole possession of the Figure.

                30.     The substantial likelihood that the Figure will be purchased by an

anonymous buyer at the Auction is not remote or speculative, and is not measurable in money

damages.

                31.     Absent injunctive relief, Plaintiff will suffer irreparable harm.

                32.    By virtue of the foregoing, Plaintiff and is entitled to a temporary

restraining order enjoining Defendants from selling, transferring, pledging, or otherwise

alienating or disposing of the Figure during the pendency of this action.



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                                 THIRD CAUSE OF ACTION
                        (For Injunction - Directing Return of the Figure)

                 33.    Plaintiff repeats and realleges paragraphs 1 through 32 above, as if set

forth here in full.

                 34.    Plaintiff is the rightful owner of the Figure, and is thus entitled to recover

sole possession of the Figure.

                 35.    The substantial likelihood that the Figure will be purchased by an

anonymous buyer at the Auction is not remote or speculative, and is not measurable in money

damages.

                 36.    Absent injunctive relief, Plaintiff will suffer irreparable harm.

                 37.    By virtue of the foregoing, Plaintiff is entitled to a preliminary injunction

directing Defendants to immediately deliver the Figure to Plaintiff.

                             FOURTH CAUSE OF ACTION
        (For Declaratory Judgment - Declaring Plaintiff the sole owner of the Figure)

                38.     Plaintiff repeats and realleges paragraphs 1 through 37 above, as if set

forth here in full.

                39.    Plaintiff is the rightful owner of the Figure, and is thus entitled to the

immediate possession of the Figure.

                40.     Plaintiff has demanded the return of the Figure. Defendants have failed

and refused to deliver the Figure to Plaintiff.

                41.    By virtue of the foregoing, Plaintiff is entitled to a judgment pursuant to

28 U.S.C. 2201, et seq., declaring Plaintiff the sole owner of the Figure.




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                                     FIFTH CAUSE OF ACTION
                                         (For Conversion)

                42.       Plaintiff repeats and realleges paragraphs 1 through 41 above, as if set

forth here in full.

                43.       Plaintiff is the rightful owner of the Figure, and is thus entitled to recover

sole possession of the Figure.

                44.       Plaintiff has demanded the return of the Figure. Defendants have failed

and refused to deliver the Figure to Plaintiff.

                45.       Defendants converted and appropriated the Figure in complete disregard

and derogation of the Plaintiffs right, title and interest to the Figure.

                46.      As a direct and proximate result of the aforesaid wrongful actions,

Plaintiff has suffered damages in an amount to be determined at trial.

                                       PRAYER FOR RELIEF

                WHEREFORE, Plaintiff respectfully requests judgment in its favor and against

Defendants as follows:

                      a) awarding a declaratory judgment that Plaintiff is the rightful owner of the

                Figure and is entitled to immediate possession of the Figure;

                      b) preliminary enjoining Defendants from selling, transferring, pledging, or

                otherwise alienating or disposing of the Figure during the pendency of this action;

                      c) directing that Defendants immediately deliver the Figure to Plaintiff;

                      d) awarding damages for conversion;

                      e) awarding attorneys’ fees, costs, and disbursements to the extent permitted

                by law; and




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               f) awarding such further relief as the Court deems just and proper.


Dated: New York, New York                       Respectfully submitted,
       April 27, 2017
                                                HERRICK, FEINSTEIN LLP


                                         By:
                                                Lawrence M. Kaye
                                                Frank K. Lord IV


                                                2 Park Avenue
                                                New York, New York 10016
                                                Tel: (212) 592-1410
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                                                Attorneys for Plaintiff
                                                Republic of Turkey




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                                          VERIFICATION

 STATE OF NEW YORK             )
                                   ss.:
 COUNTY OF NEW YORK )


                Honorable Ertan Yalcin, being duly sworn, deposes and says:

                1.      I am Ertan Yalcin. I am authorized to verify this Complaint on Plaintiffs

 behalf.

                2.      I have read the foregoing Complaint and know the contents thereof and

 believe the same to be true to the best of my knowledge, except as to those matters stated to be

 on information and belief, and as to those matters, I believe it to be true.




                                                        Ertan Yalcin            r

 Sworn to before me this
 27th day of April, 2017



     Notary Public


       BARBAROS M. KARAAHMET

       Qualified in New York County
   Commission Expires November .9. 2ULT
